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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MYGRANT GLASS COMPANY, INC.,                  )
a California corporation,                     )
                                              )            Case No. 1-24-cv-03093
               Plaintiff,                     )
                                              )
        v.                                    )
                                              )
GLASS AMERICA LLC, a Delaware                 )
limited liability company, GLASS              )
AMERICA ILLINOIS, LLC, an Illinois            )
limited liability company, and THE            )
GERBER GROUP, INC., a Delaware                )
corporation,                                  )
                                              )
               Defendants.                    )

             DEFENDANTS’ AMENDED DISCLOSURE STATEMENT
                PURSUANT TO FRCP 7.1 AND LOCAL RULE 3.2

               Defendants Glass America, LLC, Glass America Illinois, LLC, and The

Gerber Group, Inc., hereby resubmit their disclosure statement that was filed pursuant to

Rule 7.1 of the Federal Rules of Civil Procedure and Northern District of Illinois Local

Rule 3.2, to correct an inadvertent error regarding the state of incorporation for

Defendant Glass America Illinois, LLC.

               1.        The Gerber Group, Inc., a non-governmental corporate party, is a

corporation incorporated under the laws of Delaware, with its principal place of business

in Elmhurst, Illinois.

               2.        Glass America, LLC, a non-governmental corporate party, is a

limited liability company organized under the laws of Delaware, with its principal place

of business in Elmhurst, Illinois. Its sole member is Gerber Glass LLC, the sole member




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of which is Gerber Glass Holdings, Inc., a Delaware corporation incorporated under the

laws of Delaware with its principal place of business in Elmhurst, Illinois.

               3.      Glass America Illinois, LLC, a non-governmental corporate party,

is a limited liability company organized under the laws of Illinois, with its principal place

of business in Elmhurst, Illinois. Its sole member is Auto Glass Only LLC, the sole

member of which is Glass America, LLC, a Delaware corporation incorporated under the

laws of Delaware with its principal place of business in Elmhurst, Illinois.

               4.      The Gerber Group, Inc., is a wholly owned subsidiary of Boyd

Group Services.

               5.      Glass America, LLC, is a wholly owned subsidiary of Gerber

Glass, LLC.

               6.      Glass America Illinois, LLC, is a wholly owned subsidiary of Auto

Glass Only, LLC.

               7.      No private or any publicly held corporation has owned, or

currently owns, 10% or more of the stock of any of the named Defendants.


Dated: June 13, 2024                          By: /s/ Molly K. McGinley

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